             Case 1:20-cv-03178-LJL Document 95 Filed 12/01/20 Page 1 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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HC2, INC.,

                          Plaintiff,                                  1:20-cv-03178-LJL

                 -against-                                            AFFIRMATION OF
                                                                      ROBERT ROTMAN, ESQ.
ANDREW DELANEY,

                           Defendant.
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        Pursuant to the Court’s Order dated November 30, 2020 (Dkt. No. 93), I, Robert Rotman,

Esq., an attorney admitted to the practice of law before the courts of the State of New York, and

not a party to the above-entitled cause, affirm the following to be true under penalty of perjury.

        1.       I am the attorney for defendant in the above-captioned litigation. I make this

affirmation based on my personal knowledge and in support of defendant’s first amended answer

and counterclaims dated July 31, 2020 (the “Amended Counterclaims”). (Dkt. No. 74).

        2.       Attached are true and correct copies of certain documents referred to in paragraphs

36-38 of the Amended Counterclaims and in defendant’s March 17, 2020 e-mail referred to in

paragraph 14 of the Amended Counterclaims. (Dkt. No. 74).

        3.       Attached as Exhibit 1 is a true and correct copy of the “2019 Novel Coronavirus

(2019-nCoV) FAQ for Businesses and Employers” issued by the New York City Department of

Health on February 14, 2020. (Dkt. No. 74 paragraph 36). (“Encourage employees who are sick

to stay home and seek medical care if needed.”; “Make sure your work policies are flexible and

consistent with public health guidelines.”; “Separate employees who are sick. If staff arrive to

work showing symptoms of respiratory illness, separate them from other staff members and send


                                                         1
            Case 1:20-cv-03178-LJL Document 95 Filed 12/01/20 Page 2 of 4




them home.”; “Explore whether you can establish flexible work hours (staggered shifts) or work

sites (work from home or telecommuting). This will allow physical distance among employees.”;

“Share and discuss the outbreak response plan with your employees. Allow them to provide

feedback and address any gaps in the plan.”) Exhibit 2 is a true and correct copy of the NYS Dept.

of Health “Interim Guidance for Procedures When Identifying an Employee with Concerns for

COVID-19 Exposures” dated March 11, 2020 (“If the employee also has symptoms associated

with COVID-19, they should be instructed to also immediately call their healthcare provider for

further guidance.”). The NYS Dept. of Labor FAQ’s have consistently stated that New York

employers were required to follow DOH and CDC guidance. (“In addition to the following

standards, both essential and non-essential businesses must continue to comply with the guidance

and directives for maintaining clean and safe work environments issued by DOH.”). The DOL

states: “No office-based work activities can operate without meeting the following minimum State

standards, as well as applicable federal requirements, including but not limited to such minimum

standards of the Americans with Disabilities Act (ADA), Centers for Disease Control and

Prevention (CDC), Environmental Protection Agency (EPA), and United States Department of

Labor’s Occupational Safety and Health Administration (OSHA). The State standards apply to all

office-based work activities (essential and nonessential) in operation during the COVID-19 public

health emergency until rescinded or amended by the State.” This guidance is not “optional”.

https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/offices-interim-

guidance.pdf

       4.      Attached as Exhibit 3 is a true and correct copy of the Centers for Disease Control

(“CDC”) “Interim Guidance for Business and Employers” dated March 2, 2020. (Dkt. No. 74

paragraph 37) (“Separate sick employees: CDC recommends that employees who appear to have


                                                2
             Case 1:20-cv-03178-LJL Document 95 Filed 12/01/20 Page 3 of 4




acute respiratory illness symptoms (i.e. cough, shortness of breath) upon arrival to work or become

sick during the day should be separated from other employees and be sent home immediately.”;

“Explore whether you can establish policies and practices, such as flexible worksites (e.g.,

telecommuting) and flexible work hours (e.g., staggered shifts), to increase the physical distance

among employees and between employees and others if state and local health authorities

recommend the use of social distancing strategies. For employees who are able to telework,

supervisors should encourage employees to telework instead of coming into the workplace until

symptoms are completely resolved. Ensure that you have the information technology and

infrastructure needed to support multiple employees who may be able to work from home.”; “Plan

to minimize exposure between employees and also between employees and the public, if public

health officials call for social distancing.” ).

        5.      Attached as Exhibit 4 is a true and correct copy of Gov. Andrew Cuomo’s

Executive Order No. 202 dated March 7, 2020 (Declaring a Disaster Emergency in the State of

New York). (Dkt. No. 74 paragraph 38) (“I, Andrew M. Cuomo, Governor of the State of New

York, by virtue of the authority vested in me by the Constitution and the Laws of the State of New

York, hereby find, pursuant to Section 28 of Article 2-B of the Executive Law, that a disaster is

impending in New York State, for which the affected local governments are unable to respond

adequately, and I do hereby declare a State disaster emergency for the entire State of New York.”).

        6.      Attached as Exhibit 5 is a true and correct copy of “Remarks by President Trump,

Vice President Pence, and Members of the Coronavirus Task Force in Press Conference dated

March 13, 2020.” (Dkt. No. 74 paragraph 14) (“To unleash the full power of the federal

government in this effort, today I am officially declaring a national emergency…. We issued broad

guidelines from CDC for every American... SECRETARY AZAR: Well, just general

                                                   3
            Case 1:20-cv-03178-LJL Document 95 Filed 12/01/20 Page 4 of 4




preparedness. You know, you want to wash your hands. You want to keep distance from people.

And if you’re around someone sick, keep away from them. Just basic, basic public health.”).

       7.      I declare under penalty of perjury that the foregoing is true and correct.

Dated: December 1, 2020                       Respectfully submitted,

                                              By:/s/Robert Rotman_________
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